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lN THE UN|TED STATES D|STR|CT COURT
FOR THE D|STR|CT OF MARYLAND
(Southern Division)

VlCKl P|ONTEK, individually and on
behalf of all others similarly situated,

V.

FlRST lVlARlNER BANK,

Plaintiff,

Defendant.

Civi| Action No.
8:10-cv-01402-PJM

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ST|PULAT|ON OF D|SMlSSAL

Plaintiff and defendant1 by their undersigned attorneys and pursuant to

Federal Ru|e of Civil Procedure 41, hereby stipulate and agree that this case be

dismissed, such dismissal to be With prejudice as to the named plaintiff only.

SO ORDERED this

 

Rl\/lG# 4847-0585-2935

day of

/J.-J 9/5

 

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Attorne y for Plaim‘ihc

,2010.

 

Peter J. l\/|essitte
United States District Judge

